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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE
                          PORTLAND DIVISION


ANDREW MARCH,

       Plaintiff,                            Case No. 15-cv-515
                                             Hon. Nancy Torresen
v.

JANET T. MILLS, Attorney General for
the State of Maine, CITY OF PORTLAND,
et. al,

       Defendants.


     STIPULATION FOR ORDER OF DISMISSAL OF DEFENDANTS WILLIAM
        PRIES, JASON NADEAU, DONALD KRIER, AND GRAHAM HULTS

       Plaintiff and counsel for Defendants William Pries, Jason Nadeau,

Donald Krier, and Graham Hults, hereby stipulate and agree to the entry of the

attached Order dismissing Plaintiff’s action against Defendants William Pries,

Jason Nadeau, Donald Krier, and Graham Hults, with prejudice and without

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costs, interest or attorney fees to any party specifically identified in this

Stipulation.

I HEREBY STIPULATE TO THE ENTRY OF THE ABOVE ORDER:


By: /s/ Brandon Bolling*
THOMAS MORE LAW CENTER
24 Frank Lloyd Wright Drive
Suite J-3200
Ann Arbor, MI 48106
Attorney for Plaintiff
* Admitted Pro Hac Vice

By: /s/ Stephen C. Whiting
Stephen C. Whiting
THE WHITING LAW FIRM, P.A.
75 Pearl Street, Suite 207
Portland, Maine 04101
Attorney for Plaintiff

By: /s/ Edward R. Benjamin, Jr.
Edward R. Benjamin, Jr.
DRUMMOND, WOODSUM & MACMAHON
84 Marginal Way, Suite 600
Portland, ME 04112
Attorney for Defendants Krier and Pries

By: /s/ John J. Wall, III
John J. Wall, III
MONAGHAN LEAHY, LLP
95 Exchange Street, P.O. Box 7046
Portland, ME 04112-7046
Attorney for Defendants Nadeau and Hults




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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE
                               PORTLAND DIVISION


ANDREW MARCH,

       Plaintiff,                                      Case No. 15-cv-515
                                                       Hon. Nancy Torresen
v.

JANET T. MILLS, Attorney General for
the State of Maine, CITY OF PORTLAND,
et. al,

       Defendants.
______________________________________________________________________________________________

                                 ORDER OF DISMISSAL

       Upon the reading and filing of the attached Stipulation and being

otherwise fully advised in the premises;

       IT IS HEREBY ORDERED that Plaintiff’s action against Defendants

William Pries, Jason Nadeau, Donald Krier, and Graham Hults is dismissed

with prejudice and without costs, interest or attorney fees to any party

specifically identified in this Order. This is a final order.



                                                   _________________________________________
                                                   U.S. DISTRICT COURT JUDGE




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